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 4   Attorney for Defendant
     MICHAEL JOHN AVENATTI
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 6
                               UNITED STATES DISTRICT COURT
 7
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
10                Plaintiff,
                                                   DEFENDANT’S FURTHER
11                       v.                        SUBMISSION REGARDING THE JURY
                                                   QUESTIONNAIRE
12   MICHAEL JOHN AVENATTI,
13                Defendant.
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16
             Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
17
     counsel of record, H. Dean Steward, hereby files this further submission regarding the
18
     jury questionnaire. On June 28, 2021, the Court issued an Order indicating, “[a]ny
19   changes to the questionnaire by defendant must be submitted by July 6, 2021.” [Dkt.
20   514].
21           On July 4, 2021, the defendant submitted to the government a copy of his
22   proposed additions and edits to the jury questionnaire. Earlier today, the government
23   agreed to make some, but not all, of Mr. Avenatti’s changes. Accordingly, Mr. Avenatti
24   hereby submits to the Court the defendant’s additional requested proposed additions and
25   edits to the jury questionnaire, which the government opposes.
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27           1. Request No. 1: The defense requests that the following names be added to

28              Question No. 51: Leroy Baca and Los Angeles County Sheriff’s Department
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 1             for consistency. Namely, the government requested that the names of every
 2             other defendant in each of the five underlying client matters at issue in the
 3             indictment be included other than these two names. For consistency, either all
 4             defendants from the underlying matters should be listed or all defendants

 5             should be removed.

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           2. Request No. 2: On Question No. 51 add the language, “and what do you think
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               about that person or entity” after the language “please describe your familiarity
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               with that person or entity.” This addition will help ensure that the Court and
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               the parties will have more information by which to determine whether the
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               perspective juror must be excused.
11
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           3. Request No. 3: Between Question 17 and Question 18, add this question:
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               “Have you ever posted online or on social media about any court case or legal
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               proceeding? (Please Circle: YES or NO). If yes, please describe what you have
15             posted and when.” This addition will further assist the Court and the parties in
16             determining likely prejudice.
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18         4. Request No. 4: Question No. 34 should be edited to read as follows: “Have
19             you, or someone close to you, ever hired a lawyer? (Please Circle: YES or
20             NO). If yes, why and was there anything positive or negative about that
21             experience? Please describe:” These edits will assist the Court and the parties
22             in determining likely prejudice.
23
24         The defendant respectfully requests that the foregoing changes be made to the

25   questionnaire prior to distribution to the venir.

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 1    Dated: July 6, 2021                  Respectfully submitted,
 2
                                          /s/ H. Dean Steward
 3                                         H. DEAN STEWARD
 4                                         Attorney for Defendant
                                           MICHAEL JOHN AVENATTI
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 1
                                  CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
     age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California
 4
 5   92660. I am not a party to the above-entitled action. I have caused, on July 6, 2021,

 6   service of the:
 7
             DEFENDANT’S FURTHER SUBMISSION REGARDING THE JURY
 8                            QUESTIONNAIRE

 9   on the following party, using the Court’s ECF system:
10
     AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
11
     I declare under penalty of perjury that the foregoing is true and correct.
12
13   Executed on July 6, 2021
14
                                             /s/ H. Dean Steward
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                                             H. Dean Steward
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